                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              WESTERN DIVISION

                    ***********************************************

 MARK H. BEAM,                                               )
                                                             )
                          Plaintiff,                         )
        vs.                                                 )
                                                            )
GEORGE TATUM, Commissioner, North                           )
Carolina Division of Motor Vehicles,                        )      NO: 5:06 CV 279 D
BRYAN BEATTY, Secretary, North                              )
Carolina Department of Crime Control                        )
and Public Safety, and LYNDO TIPPETT,                       )
Secretary, North CaroJina Department of                     )
Transportation,                                             )
                                                            )
                         Defendants.                        )

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                    ORDER OF DISMISSAL PURSUANT TO RULE 41
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       THIS CAUSE corning on to be heard and being heard before the Honorable James C.

Dever, III, United States District Court Judge presiding on the motion of the Plaintiff to

voluntarily dismiss this action pursuant to Rule 41 of the Federal Rules of Civil Procedure

and it appearing to the Court that all matters in controversy have been resolved by the parties

and that the Plaintiffs motion should be allowed;

       NOW, THEREFORE, IT IS ORDERED, ADJUDGED AND DECREED that the

motion of the Plaintiff to voluntarily dismiss the above-captioned matter should be and the

same is hereby allowed.

       Ordered this the ~ day of_-""~,---,v,,,-,I.,j'----               ' 2009.




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